Case 2:15-cr-20710-GCS-DRG ECF No. 126, PageID.861 Filed 01/12/21 Page 1 of 6




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


UNITED STATES OF AMERICA,

            Plaintiff,
                                               Case No. 15-20710
      v.
                                               Hon. George Caram Steeh
CLIFFORD CONNOR,

         Defendant.
___________________________/

              ORDER DENYING DEFENDANT’S MOTION
            FOR COMPASSIONATE RELEASE (ECF NO. 120)

      Defendant Clifford Connor seeks compassionate release from prison,

relief that the government opposes. For the reasons explained below, the

court denies his motion.

      Connor entered a plea of guilty to carjacking and use and carry of a

firearm during and in relation to a crime of violence. His advisory

sentencing guideline range was calculated to be 130-141 months. After

consideration of the section 3553 factors, the court sentenced Connor to 46

months’ imprisonment for aiding and abetting a carjacking and a

consecutive 84 months for use and carry of a firearm during and in relation

to a crime of violence, for a total of 130 months’ imprisonment.


                                        -1-
Case 2:15-cr-20710-GCS-DRG ECF No. 126, PageID.862 Filed 01/12/21 Page 2 of 6




      Connor began serving his sentence on May 8, 2017 and has a

projected release date of March 11, 2025. He has served approximately

44 months, or 34% of his sentence, and is housed at FCI Hazelton in West

Virginia. Connor seeks compassionate release due to medical conditions,

specifically Attention Deficit Hyper-Disorder (ADHD), and a learning

disability.

       Ordinarily, a district court “may not modify a term of imprisonment

once it has been imposed.” 18 U.S.C. § 3582(c). The statute provides for a

limited exception, known as “compassionate release,” which is governed by

18 U.S.C. § 3582(c)(1)(A), as amended by the First Step Act of 2018. This

section allows for judicial modification of an imposed term of imprisonment

when three criteria have been met: (1) the defendant has first exhausted all

administrative remedies with the Bureau of Prisons or at least allowed the

BOP 30 days to act on his request before seeking compassionate release

on his own motion; (2) extraordinary and compelling reasons warrant such

a reduction; and (3) the reduction is consistent with the applicable policy

statements issued by the Sentencing Commission and the court has

considered the factors set forth in section 3553(a). 18 U.S.C.

§ 3582(c)(1)(A)(i).




                                        -2-
Case 2:15-cr-20710-GCS-DRG ECF No. 126, PageID.863 Filed 01/12/21 Page 3 of 6




      An “extraordinary and compelling reason” for the reduction can be

satisfied in cases where a defendant’s medical conditions or overall state of

health are such that they cannot be treated effectively or will worsen in a

custodial environment. To qualify, a defendant must have a medical

condition, age-related issue, family circumstance, or other reason that

satisfies the criteria in USSG § 1B1.13(1)(A) & cmt. n.1. Medical conditions

meeting the “extraordinary and compelling” standard include terminal

illnesses or serious physical or cognitive impairments. Id. In addition, the

defendant must “not [be] a danger to the safety of any other person or to

the community.” USSG § 1B1.13(2).

      Even if these criteria are met, the court may not grant a motion for

compassionate release unless the factors set forth in section 3553(a)

support a sentence reduction. See 18 U.S.C. § 3553(a); United States v.

Ruffin, 978 F.3d 1000, 1008-009 (6th Cir. 2020). These factors include the

defendant’s history and characteristics, the seriousness of the offense, the

need to promote respect for the law and provide just punishment, general

and specific deterrence, and the protection of the public. 18 U.S.C.

§ 3553(a).

      First, compassionate release requires exhaustion. 18 U.S.C. §

3582(c)(1)(A); United States v. Alam, 960 F.3d 831, 832-36 (6th Cir. 2020).

                                         -3-
Case 2:15-cr-20710-GCS-DRG ECF No. 126, PageID.864 Filed 01/12/21 Page 4 of 6




Connor has requested compassionate release from the BOP, which was

denied on the basis that he does not have a debilitated medical condition.

Accordingly, he has exhausted her administrative remedies and the court

may consider his motion.

      Second, even if a defendant exhausts, he must show “extraordinary

and compelling reasons” for release. 18 U.S.C. § 3582(c)(1)(A). The Sixth

Circuit has stressed that “generalized fears of contracting Covid-19, without

more,” do not justify compassionate release. United States v.

Scarborough, 821 Fed.Appx. 598, 600 (6th Cir. 2020) (citations omitted).

Connor’s proffered reason for release—ADHD and a learning disability—as

well as his medical records, establish that he does not have a CDC

recognized condition. Because Connor is only 26 years old, he also does

not face the same risk from the disease as the elderly. The combination of

his medical conditions and age, even when considered alongside the

Covid-19 pandemic, thus does not rise to the level of an “extraordinary”

circumstance.

      Finally, even if Connor’s health conditions and the Covid-19 pandemic

did meet the “extraordinary and compelling” standard, the Court finds that

the section 3553(a) factors do not weigh in favor of compassionate release.

On October 24, 2015, Connor aimed a handgun at the owner and

                                        -4-
Case 2:15-cr-20710-GCS-DRG ECF No. 126, PageID.865 Filed 01/12/21 Page 5 of 6




passenger of a red 2005 Pontiac Grand Am and ordered them out of the

car. Connor and two accomplices robbed the men of their money, the keys

and paperwork to the Grand Am, their wallets and passports, and their

cellphones. While Connor held the two men at gunpoint, one of the co-

defendants pummeled and yelled at one of the victims to divulge his

cellphone passcode. With the help of the tracking app on one of the victim’s

cellphones, Connor and the accomplices were found at a nearby home with

the car and other stolen items. Connor was in possession of a handgun

when he was arrested.

      In imposing a sentence at the bottom of the guidelines, the court

considered Connor’s age and family support, balanced against his criminal

history and the violent nature of the instant offense. The Court was

cognizant of the need to deter Connor from committing future violations, as

well as the need to generally deter others who might be inclined to commit

similar violations. Releasing him after he has served approximately 34% of

his sentence, with over four years remaining, would not reflect the

seriousness of his offense, promote respect for the law, afford just and

proportionate punishment, or provide sufficient deterrence.




                                        -5-
Case 2:15-cr-20710-GCS-DRG ECF No. 126, PageID.866 Filed 01/12/21 Page 6 of 6




      For the reasons stated above, IT IS HEREBY ORDERED that

Connor’s motion (ECF No. 120) is DENIED.

Dated: January 12, 2021

                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE



                                CERTIFICATE OF SERVICE

                Copies of this Order were served upon attorneys of record on
                January 12, 2021, by electronic and/or ordinary mail and also
                on Clifford Anthony Connor #51545-039, Federal Correctional
                         Facility, Inmate Mail/Parcels, P.O. Box 5000,
                                    Bruceton Mills, WV 26525.

                                      s/Brianna Sauve
                                        Deputy Clerk




                                                -6-
